                            Case 1-18-43391-cec                       Doc 4-1          Filed 06/13/18              Entered 06/13/18 09:26:06

  Fill in this information to identify your case:

                           Jemela Ruby Daniels
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name              Last Name


      United States Bankruptcy Court for the: ______________________
                                              Eastern District of New York District of __________
                                                                                             (State)
                                                                                                                                                         Check if this is an
      Case number         ___________________________________________
      (If known)                                                                                                                                            amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         
         ✔ No. Go to Part 2.

          Yes.
 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim    Priority     Nonpriority
                                                                                                                                                       amount       amount
2.1
                                                                        Last 4 digits of account number                            $_____________ $___________ $____________
           ____________________________________________
           Priority Creditor’s Name
                                                                        When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                 As of the date you file, the claim is: Check all that apply.
           ____________________________________________                    Contingent
           City                                 State    ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.                               Disputed
                 Debtor 1 only                                         Type of PRIORITY unsecured claim:
                 Debtor 2 only                                            Domestic support obligations
                 Debtor 1 and Debtor 2 only                               Taxes and certain other debts you owe the government
                 At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                 Check if this claim is for a community debt               intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
                 No
                 Yes
2.2
                                                                        Last 4 digits of account number                                $_____________ $___________ $____________
            ____________________________________________
            Priority Creditor’s Name                                    When was the debt incurred?          ____________
            ____________________________________________
            Number           Street                                     As of the date you file, the claim is: Check all that apply.
            ____________________________________________                   Contingent
            ____________________________________________                   Unliquidated
            City                                State    ZIP Code
                                                                           Disputed
            Who incurred the debt? Check one.
                  Debtor 1 only                                        Type of PRIORITY unsecured claim:
                  Debtor 2 only                                           Domestic support obligations
                  Debtor 1 and Debtor 2 only                              Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
                  No
                  Yes

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                       Jemela Ruby Daniels
 Debtor 1             _______________________________________________________                               Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Part 2:             List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          Affirm                                                                                                                                                  Total claim
4.1
                                                                                        Last 4 digits of account number       QKJM
         _____________________________________________________________                                                                                            385.95
                                                                                                                                                                $__________________
         Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
          c/o Afni, Inc.
         _____________________________________________________________
         Number            Street
          POB 3517
         _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
         Bloomington                         IL       61702
         _____________________________________________________________                     Contingent
         City                                             State           ZIP Code
                                                                                           Unliquidated
         Who incurred the debt? Check one.                                                 Disputed
         
         ✔      Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only                                                 Student loans
               At least one of the debtors and another                                    Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
               Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?
                                                                                        
                                                                                        ✔   Other. Specify Monies Loaned / Advanced

         
         ✔      No
               Yes
4.2
         Blaze Master Card                                                              Last 4 digits of account number                                          454.00
                                                                                                                                                                $__________________
         _____________________________________________________________                  When was the debt incurred?           ____________
         Nonpriority Creditor’s Name
         PO Box 5096
         _____________________________________________________________
         Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
          Sioux Falls                                     SD
                                                      57117
                                                                                           Contingent
         _____________________________________________________________                     Unliquidated
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                 Disputed
         
         ✔      Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                           Student loans
               Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                     that you did not report as priority claims

               Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
         Is the claim subject to offset?
         
         ✔      No
               Yes
          Capital One Bank USA (VA)
4.3
                                                                                        Last 4 digits of account number       8817, 4029
         _____________________________________________________________                                                                                           1,208.54
                                                                                                                                                                $_________________
         Nonpriority Creditor’s Name                                                    When was the debt incurred?           ____________
         4851 Cox Road
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
         Glen Allen                          VA       23060
         _____________________________________________________________                     Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                 Unliquidated

         
         ✔      Debtor 1 only
                                                                                           Disputed

               Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                 Student loans
               At least one of the debtors and another                                    Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
               Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?                                                
                                                                                        ✔   Other. Specify Credit Card Debt

         
         ✔ No

               Yes


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                      Jemela Ruby Daniels
 Debtor 1            _______________________________________________________                                Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Part 2:            List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.4     Comenity Bank
       _____________________________________________________________                    Last 4 digits of account number       9974
       Nonpriority Creditor’s Name                                                                                                                                1,480.62
                                                                                                                                                                $__________________
        PO Box 182789                                                                   When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
        Columbus                                         OH
       _____________________________________________________________
                                                                        43218-2789
       City                                              State           ZIP Code          Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.
                                                                                           Disputed
       
       ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                           Student loans
              Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                      that you did not report as priority claims

              Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.5     Credit First/Firestone                                                          Last 4 digits of account number                                          983.00
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        6275 Eastland Rd
       _____________________________________________________________
       Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Brookpark                           OH       44142                                  Contingent
       _____________________________________________________________
       City                                              State           ZIP Code          Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                           Student loans

              At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
              Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Monies Loaned / Advanced
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.6     Credit One Bank                                                                 Last 4 digits of account number       8577
        _____________________________________________________________                                                                                            802.40
                                                                                                                                                                $_________________
        Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
        PO Box 98873
        _____________________________________________________________
        Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Las Vegas                           NV       89193-8872
        _____________________________________________________________                      Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                                  Unliquidated

       
       ✔       Debtor 1 only
                                                                                           Disputed

              Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                                  Student loans
              At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
              Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        ✔   Other. Specify Credit Card Debt
       
       ✔       No
              Yes


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                      Jemela Ruby Daniels
 Debtor 1            _______________________________________________________                                 Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Part 2:            List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.7     Credit One Bank
       _____________________________________________________________                    Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                                1,022.96
                                                                                                                                                                $__________________
        PO Box 98873                                                                    When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
        Las Vegas                                        NV
       _____________________________________________________________
                                                                        89193-8872
       City                                              State           ZIP Code          Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.
                                                                                           Disputed
       
       ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                           Student loans
              Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                      that you did not report as priority claims

              Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.8     Dept. of Education/Navient                                                      Last 4 digits of account number                                          57,000.00
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        123 Justison Street
       _____________________________________________________________
       Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       3rd Floor
       _______________________________________________________________________
       Wilmington                          DE       19801                                  Contingent
       _____________________________________________________________
       City                                              State           ZIP Code          Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                        
                                                                                        ✔   Student loans

              At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
              Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                           Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.9     Discover Fincl Svc LLC                                                          Last 4 digits of account number       7229
        _____________________________________________________________                                                                                            265.08
                                                                                                                                                                $_________________
        Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
        PO Box 15316
        _____________________________________________________________
        Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Wilmington                          DE       19850-5316
        _____________________________________________________________                      Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                                  Unliquidated

       
       ✔       Debtor 1 only
                                                                                           Disputed

              Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                                  Student loans
              At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
              Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        ✔   Other. Specify Monies Loaned / Advanced
       
       ✔       No
              Yes


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                       Jemela Ruby Daniels
 Debtor 1             _______________________________________________________                               Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Part 2:             List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.10 Fingerhut
        _____________________________________________________________                   Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                               769.00
                                                                                                                                                                $__________________
         7075 Flying Cloud Drive                                                        When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
         Eden Prairie                                     MN
        _____________________________________________________________
                                                                         55344
        City                                              State           ZIP Code         Contingent
                                                                                           Unliquidated
        Who incurred the debt? Check one.
                                                                                           Disputed
        
        ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                           Student loans
               Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                     that you did not report as priority claims

               Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.11 First Premier Bank                                                                 Last 4 digits of account number                                          1,098.00
                                                                                                                                                                $__________________
        _____________________________________________________________                   When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         38200 N Louise Avenue
        _____________________________________________________________
        Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Sioux Falls                         SD       57107                                 Contingent
        _____________________________________________________________
        City                                              State           ZIP Code         Unliquidated
        Who incurred the debt? Check one.                                                  Disputed
        
        ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                           Student loans

               At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
               Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.12     Gettington Credit                                                              Last 4 digits of account number       3035
         _____________________________________________________________                                                                                           1,614.10
                                                                                                                                                                $_________________
         Nonpriority Creditor’s Name                                                    When was the debt incurred?           ____________
         6250 Ridgewood Road
         _____________________________________________________________
         Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Saint Cloud                         MN       56303
         _____________________________________________________________                     Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                 Unliquidated

        
        ✔       Debtor 1 only
                                                                                           Disputed

               Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                 Student loans
               At least one of the debtors and another                                    Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
               Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                 
                                                                                        ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                       Jemela Ruby Daniels
 Debtor 1             _______________________________________________________                               Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Part 2:             List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.13 HSBC Bank USA NA                                                                                                         5105
        _____________________________________________________________                   Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                               732.47
                                                                                                                                                                $__________________
         2929 Walden Avenue                                                             When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
         Depew                                            NY
        _____________________________________________________________
                                                                         14043
        City                                              State           ZIP Code         Contingent
                                                                                           Unliquidated
        Who incurred the debt? Check one.
                                                                                           Disputed
        
        ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                           Student loans
               Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                     that you did not report as priority claims

               Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.14 Mid America Milestone Mastercard                                                   Last 4 digits of account number       8047                               677.16
                                                                                                                                                                $__________________
        _____________________________________________________________                   When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         c/o Asset Recovery Solutions, LLC
        _____________________________________________________________
        Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        2200 E. Devon Avenue, Ste 200
        _______________________________________________________________________
        Des Plaines                         IL       60018                                 Contingent
        _____________________________________________________________
        City                                              State           ZIP Code         Unliquidated
        Who incurred the debt? Check one.                                                  Disputed
        
        ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                           Student loans

               At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
               Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.15     Nordstrom TD Bank USA                                                          Last 4 digits of account number       5401
         _____________________________________________________________                                                                                           3,075.02
                                                                                                                                                                $_________________
         Nonpriority Creditor’s Name                                                    When was the debt incurred?           ____________
         PO Box 13589
         _____________________________________________________________
         Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Scottsdale                          AZ       85267
         _____________________________________________________________                     Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                 Unliquidated

        
        ✔       Debtor 1 only
                                                                                           Disputed

               Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                 Student loans
               At least one of the debtors and another                                    Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
               Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                 
                                                                                        ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                       Jemela Ruby Daniels
 Debtor 1             _______________________________________________________                               Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Part 2:             List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.16 Optimum                                                                                                                  5041
        _____________________________________________________________                   Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                               1,193.38
                                                                                                                                                                $__________________
         1111 Stewart Avenue                                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
         Bethpage                                         NY
        _____________________________________________________________
                                                                         11714
        City                                              State           ZIP Code         Contingent
                                                                                           Unliquidated
        Who incurred the debt? Check one.
                                                                                           Disputed
        
        ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                           Student loans
               Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                     that you did not report as priority claims

               Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Cable / Satellite Services
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.17 SYNCB/Walmart                                                                      Last 4 digits of account number       6817                               826.19
                                                                                                                                                                $__________________
        _____________________________________________________________                   When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         POB 965024
        _____________________________________________________________
        Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Orlando                             FL       32896                                 Contingent
        _____________________________________________________________
        City                                              State           ZIP Code         Unliquidated
        Who incurred the debt? Check one.                                                  Disputed
        
        ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                           Student loans

               At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
               Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.18     Sync/GAP                                                                       Last 4 digits of account number
         _____________________________________________________________                                                                                           668.00
                                                                                                                                                                $_________________
         Nonpriority Creditor’s Name                                                    When was the debt incurred?           ____________
         PO Box 965005
         _____________________________________________________________
         Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Orlando                             FL       32896-5005
         _____________________________________________________________                     Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                 Unliquidated

        
        ✔       Debtor 1 only
                                                                                           Disputed

               Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                 Student loans
               At least one of the debtors and another                                    Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
               Check if this claim is for a community debt                                Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                 
                                                                                        ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                       Jemela Ruby Daniels
 Debtor 1             _______________________________________________________                                Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Part 2:             List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.19 Sync/Old Navy
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                826.00
                                                                                                                                                                 $__________________
         PO Box 965005                                                                   When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Orlando                                          FL
        _____________________________________________________________
                                                                         32896-5005
        City                                              State           ZIP Code          Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.20 Syncb/Amazon PLCC                                                                   Last 4 digits of account number                                          1,532.00
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO Box 965036
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Orlando                             FL       32896-5036                             Contingent
        _____________________________________________________________
        City                                              State           ZIP Code          Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.21     Syncb/American Eagle                                                            Last 4 digits of account number
         _____________________________________________________________                                                                                            417.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         PO Box 965036
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Orlando                             FL       32896-5036
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                       Jemela Ruby Daniels
 Debtor 1             _______________________________________________________                                Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Part 2:             List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.22 Syncb/BP
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                741.00
                                                                                                                                                                 $__________________
         PO Box 965036                                                                   When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Orlando                                          FL
        _____________________________________________________________
                                                                         32896-5036
        City                                              State           ZIP Code          Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.23 Syncb/Care Credit                                                                   Last 4 digits of account number       1179                               1,082.15
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO Box 965036
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Orlando                             FL       32896-5036                             Contingent
        _____________________________________________________________
        City                                              State           ZIP Code          Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.24     Syncb/Paypal Smart Conn                                                         Last 4 digits of account number       0692
         _____________________________________________________________                                                                                            1,891.67
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         PO Box 965005
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Orlando                             FL       32896-5005
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                       Jemela Ruby Daniels
 Debtor 1             _______________________________________________________                                Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Part 2:             List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.25 Syncb/QVC
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                774.00
                                                                                                                                                                 $__________________
         PO Box 965036                                                                   When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Orlando                                          FL
        _____________________________________________________________
                                                                         32896-5036
        City                                              State           ZIP Code          Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.26 Synchrony Bank                                                                      Last 4 digits of account number       5367                               417.36
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO Box 965024
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Orlando                             FL       32896-5024                             Contingent
        _____________________________________________________________
        City                                              State           ZIP Code          Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.27     Verizon Bankruptcy Administration                                               Last 4 digits of account number
         _____________________________________________________________                                                                                            1,927.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         5000 Technology Drive
         _____________________________________________________________
         Number             Street
         Suite 550                                                                       As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Saint Charles                       MO       63304
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Monies Loaned / Advanced
        
        ✔       No
               Yes


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                 Jemela Ruby Daniels
Debtor 1       _______________________________________________________                          Case number (if known)_____________________________________
               First Name    Middle Name           Last Name



Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Cavalry Portfolio Services, LLC                                     On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      POB 520                                                                  4.23 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                             
                                                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                          Last 4 digits of account number     6408
      Valhalla                             NY    10595
     _____________________________________________________
     City                                  State               ZIP Code

      Cavalry Portfolio Services, LLC                                     On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      POB 520                                                                   4.13 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                             
                                                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                          Claims

      Valhalla                        NY         10595
     _____________________________________________________                Last 4 digits of account number      8345
     City                                  State               ZIP Code

      Convergent Outsourcing, Inc.
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      800 SW 39th Street
     _____________________________________________________
                                                                               4.26 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                          Claims

     Renton                           WA         98057
     _____________________________________________________                Last 4 digits of account number     6284
     City                                  State               ZIP Code

      ERC
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      POB 56710
     _____________________________________________________
                                                                                4.24 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                          Claims

      Jacksonville                    FL         32241
     _____________________________________________________                Last 4 digits of account number     7919
     City                                  State               ZIP Code

      LVNV Funding LLC
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      c/o Alltran Financial, LP                                                 4.6 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                             
                                                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured
      POB 610
     _____________________________________________________
                                                                          Claims

      Sauk Rapids                          MN    56379
     _____________________________________________________                Last 4 digits of account number     2074
     City                                  State               ZIP Code

      MCM Midland Credit Management
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      2365 Northside Drive
     _____________________________________________________
                                                                                4.17 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 300
     _____________________________________________________
                                                                          Claims

      San Diego                       CA         92108
     _____________________________________________________                Last 4 digits of account number     4536
     City                                  State               ZIP Code

      MCM Midland Credit Management
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      2365 Northside Drive                                                      4.7 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street
                                                                                                       
                                                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 300                                                           Claims
     _____________________________________________________
      San Diego                       CA         92108
     _____________________________________________________
                                                                          Last 4 digits of account number     0261
     City                                  State               ZIP Code



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                Jemela Ruby Daniels
Debtor 1       _______________________________________________________                          Case number (if known)_____________________________________
               First Name    Middle Name           Last Name



Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Mullooly Jeffrey Rooney & Flynn LLP                                 On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      6851 Jericho Tpke                                                        4.17 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                             
                                                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured Claims
      Suite 220
     _____________________________________________________
                                                                          Last 4 digits of account number     3457
      Syosset                              NY    11791
     _____________________________________________________
     City                                  State               ZIP Code

      Northstar Location Services, LLC                                    On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      Attn: Financial Services Dept.                                            4.9 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                             
                                                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured
      PO Box 49
     _____________________________________________________
                                                                          Claims

      Bowmansville                    NY         14026
     _____________________________________________________                Last 4 digits of account number
     City                                  State               ZIP Code

      Portfolio Recovery Associates, LLC
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      POB 12914
     _____________________________________________________
                                                                               4.3 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                          Claims

     Norfolk                          VA         23541
     _____________________________________________________                Last 4 digits of account number
     City                                  State               ZIP Code

      Real Time Resolutions
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      Dept. 107565
     _____________________________________________________
                                                                                4.15 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured
      1349 Empire Central Drive
     _____________________________________________________
                                                                          Claims

      Dallas                          TX         75247
     _____________________________________________________                Last 4 digits of account number     6193
     City                                  State               ZIP Code

      Ronald Moses, Marshal
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      111 John Street                                                           4.17 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                             
                                                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 500
     _____________________________________________________
                                                                          Claims

      New York                             NY    10038
     _____________________________________________________                Last 4 digits of account number     3620
     City                                  State               ZIP Code

      Stoneleigh Recovery Associates
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      POB 1479
     _____________________________________________________
                                                                                4.4 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                          Claims

      Lombard                         IL         60148
     _____________________________________________________                Last 4 digits of account number
     City                                  State               ZIP Code

      William C. Grossman Law, PLLC
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      5965 Transit Road                                                         4.12 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street
                                                                                                       
                                                                                                       ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 500                                                           Claims
     _____________________________________________________
      East Amherst                    NY         14051
     _____________________________________________________
                                                                          Last 4 digits of account number     3940
     City                                  State               ZIP Code



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               Jemela Ruby Daniels
Debtor 1       _______________________________________________________                      Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.                         0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                         0.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.                         0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                                           0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                           0.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.                    57,000.00
Total claims                                                                            $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                                                                                                            0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.                          0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                                     26,864.05


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                      83,864.05
                                                                                        $_________________________




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